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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 IRONCLAD PERFORMANCE WEAR
 CORPORATION,

        Plaintiff,
                                                            Case No. 3:15-cv-03453-D
 v.

 ORR SAFETY CORPORATION,

        Defendant


                           [PROPOSED] PROTECTIVE ORDER

        Plaintiff Ironclad Performance Wear Corporation’s has moved the Court to issue a protective

order against Defendant the topics of ORR Safety Corp.’s (“ORR”) Rule 30(b)(6) deposition that seek

testimony on topics of trade dress, contending that such topics are beyond the scope of the Court’s

February 26, 2016 order granting expedited discovery on issues relevant to ORR’s motion for

injunctive relief. Having considered the motion, the Court finds it supported by good cause and

therefore GRANTS the Motion. The Court issued this protective order precluding ORR from

deposing Ironclad on topics related to the trade dress of the KONG gloves and Vibram gloves.


Signed: April ____, 2016

                                                      Honorable Sidney A. Fitzwater
                                                      United States District Court Judge
